Case 2:18-cv-02044-PD Document 90 Filed 05/21/19 Page 1of3

IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 

 

JOHN DOE, :
Plaintiff, CIVIL ACTION NO. 18-cv-2044
vs.
St. Joseph’s University
and
Jane Roe
Defendants.
NOTICE OF APPEAL

Notice is hereby given that John Doe, plaintiff in the above-named case, hereby appeals
to the United States Court of Appeals for the Third Circuit from the Memorandum and Order
granting the Motion for Summary Judgment filed by Defendant Saint Joseph’s University on
Plaintiff's claim under Title [X; dismissing without prejudice Plaintiff's state law claims against
both SJU and Roe without prejudice; and denying the Motion for Summary Judgment filed by
Plaintiff John Doe as to Saint Joseph’s Counter-Claim as moot on April 23, 2019 (Dkt. Nos 88 &
89), by the Honorable Paul Diamond. Plaintiff, John Doe, also appeals the Memorandum and
Order denying Plaintiff's Motion to Compel the deposition of Marianne Schimelfenig entered on

August 31, 2018 (Dkt. No. 42), by the Honorable Paul Diamond.

 

Respectfully submitted,

DATE: _ May 21, 2019 BY:__/s/ John Mirabella
Edward J. Schwabenland, Esquire
Schwabenland & Ryan

995 Old Eagle School Road, #306
Wayne, PA 19087
(610) 971-9200
Case 2:18-cv-02044-PD Document 90 Filed 05/21/19 Page 2 of 3

John Mirabella, Esquire
jmirabella@smblawfirm.com
Smith Mirabella Blake, LLC.
100 North 20" Street, Suite 303
Philadelphia, PA 19103

(215) 422-4100

 

Attorneys for Plaintiff
Case 2:18-cv-02044-PD Document 90 Filed 05/21/19 Page 3 of 3

CERTIFICATE OF SERVICE

I, John Mirabella, hereby certify that on May 21, 2019, I served a true and correct copy of

the foregoing Notice of Appeal on all counsel of record via the Court’s ECF system.

/s/ John Mirabella
JOHN MIRABELLA, ESQUIRE

DATE: _ May 21, 2019
